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 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6                                                   ***
 7     UNITED STATES OF AMERICA,                                Case No. 2:16-cr-00046-GMN-PAL
 8                                           Plaintiff,                     ORDER
              v.
 9                                                             (Unopp Mot Ext Time – ECF No. 809)
       O. SCOTT DREXLER,
10
                                           Defendant.
11

12            Before the court is Defendant O. Scott Drexler’s Unopposed Motion to Extend Time
13     (ECF No. 809).       The motion requests an extension of time to file Rule 12 pretrial
14     motions. Drexler requests an extension of time to October 19, 2016. The government does
15     not oppose the request. Having reviewed and considered the motion,
16            IT IS ORDERED that Defendant O. Scott Drexler’s Unopposed Motion to Extend Time
17     (ECF No. 809) is:
18            1. DENIED in part as to an extension to October 19, 2016.
19            2. GRANTED in part to the extent that Defendant O. Scott Drexler’s case management
20                 deadlines are extended until October 17, 2016.
21            DATED this 7th day of October, 2016.
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                                                              PEGGY A. LEEN
24                                                            UNITED STATES MAGISTRATE JUDGE
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